






		NO. 12-03-00008-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT


		

TYLER, TEXAS


		

LATRENA DENISE BAGLEY,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW NO. 2 OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






	MEMORANDUM OPINION


	A jury found Appellant Latrena Denise Bagley ("Appellant") guilty of criminal mischief.
Appellant elected to have her punishment assessed by the trial court.  Punishment was assessed at
ninety days of confinement in the Smith County Jail and a $400 fine.  We affirm.

	Appellant timely perfected her appeal.  However, the trial court found that Appellant was not
indigent and was not entitled to appointed counsel.  Appellant has not filed a brief in this proceeding. 
Nevertheless, we are not authorized to dismiss the appeal of a criminal conviction or sentence unless
(1) the appellant moves to voluntarily withdraw or dismiss the appeal, or (2) the appellant has
escaped from custody.  See Tex. R. App. P. 42.2; 42.4.  Neither exception applies in this case. 
Where, as here, the appellant is not indigent but has failed to file a brief, the appellate court may
consider the appeal on the record alone.  See Tex. R. App. P. 38.8(b)(4).  On May&nbsp;5, 2003, we
notified Appellant that her appeal would be considered without benefit of the reporter's record or
briefing.  Appellant did not respond.

	We have reviewed the record in this appeal for fundamental error and found none. 
Accordingly, the judgment of the trial court is affirmed.

								     JAMES T. WORTHEN    

									     Chief Justice

Opinion delivered June 18, 2003.

Panel consisted of Worthen, C.J. and Griffith, J.

(DO NOT PUBLISH)


